
PER CURIAM.
We review Maguire v. State, 586 So.2d 1268 (Fla. 2d D.C.A.1991), in which the district court of appeal certified the following as a question of great public importance:
DOES A SECOND VIOLATION OF PROBATION CONSTITUTE A VALID BASIS FOR A DEPARTURE SENTENCE BEYOND THE ONE-CELL DEPARTURE PROVIDED IN THE SENTENCING GUIDELINES?
Id. at 1268. We have jurisdiction. Art. V, § 3(b)(4), Fla. Const.
Though phrased in a different manner, this question has been answered negatively in our recent opinion in Williams v. State, 594 So.2d 273 (Fla.1992). We quash the decision below to the extent that it conflicts with that opinion and remand the case for disposition consistent with that opinion.
It is ordered.
SHAW, C.J., and OVERTON, McDonald, barkett, grimes, KOGAN and HARDING, JJ., concur.
